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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                      1/11/2021

 PARANEE SARIKAPUTAR, ET AL.

                                 Plaintiffs,
                                                               1:19-cv-11168 (ALC)
                     -against-
                                                               ORDER
 VERATIP CORP., d/b/a Thai NY Restaurant,
 ET AL.,

                                 Defendants.

ANDREW L. CARTER, JR., United States District Judge:

       On December 28, 2020, Counsel for Defendants filed a letter advising the Court that

Defendant Adidsuda Chunton filed for bankruptcy pursuant to Chapter 7 of the United States

Bankruptcy Code. ECF No. 55. The Court directed Plaintiff to state their position regarding the

propriety of staying this action pursuant to 11 U.S.C. § 362. ECF No. 56. Plaintiff responded by

stating that a stay is only appropriate as to Defendant Chunton and that they are in the process of

attempting to lift the stay. ECF No. 57.

       Accordingly, the Court hereby ORDERS that all proceedings in this action are stayed as

to Defendant Chunton. The parties are hereby ORDERED to submit a joint status report by

March 12, 2021 advising on the status of the automatic stay.

SO ORDERED.

Dated: January 11, 2021
       New York, New York
                                               ___________________________________
                                                     ANDREW L. CARTER, JR.
                                                     United States District Judge
